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                                                             FILED: March 24, 2010


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                       No. 07-4060
                                   (8:04-cr-00235-RWT)
                                   ___________________


        UNITED STATES OF AMERICA,

                               Plaintiff - Appellee

        v.

        PAULETTE MARTIN, a/k/a Paulette Murphy, a/k/a Paulette Akuffo,
        a/k/a Paula Murphy, a/k/a Auntie,

                               Defendant - Appellant

                                   ___________________

                                        O R D E R
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               Upon consideration of the motion for authorization of

        funding under the Criminal Justice Act, the Court grants the

        motion and authorizes $1,000, inclusive of shipping, to provide

        a copy of the trial transcript to appellant.

                                           For the Court--By Direction

                                           /s/ Patricia S. Connor, Clerk
